                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE

TERRY LYNN KING,                                    )
                                                    )
        Plaintiff,                                  )       CAPITAL CASE
                                                    )
v.                                                  )       Case No. 3:18-cv-01234
                                                    )
TONY PARKER, et al.,                                )       JUDGE CAMPBELL
                                                    )
        Defendants.                                 )


                        MEMORANDUM OF LAW IN SUPPORT OF
                        DEFENDANTS’ MOTION TO RECONSIDER


        Defendants Tony Parker, Commissioner of the Tennessee Department of Correction

(“TDOC”), and Tony Mays, Warden of Riverbend Maximum Security Institution, respectfully

request under Fed. R. Civ. P. 54(b) that the Court reconsider its recent discovery order, (D.E. 108),

for the reasons set forth below.

                               PROCEDURAL BACKGROUND

        In Count Three, the sole remaining count of the Complaint, Plaintiff, a death-row inmate,

challenges Tennessee’s three-drug lethal injection protocol (“the Protocol”) on the grounds that it

violates the Eighth and Fourteenth Amendments. (D.E. 51, PageID# 2211.) He alleges that the

Protocol is unconstitutional as written and as applied.        (D.E. 51, PageID# 2251–68.) The

allegations Plaintiff categorizes as presenting his as-applied challenge are: (1) the execution team

might improperly administer the lethal injection chemicals; (2) Plaintiff’s breathing might be

impaired during the execution; (3) Plaintiff might experience a paradoxical effect from the

injection of midazolam; (4) the restraints on Plaintiff’s hands and fingers might cause him to suffer;

(5) the execution team might not actually prepare two sets of lethal injection chemicals; and (6) if


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the lethal injection chemicals are improperly stored and transported, it would create a substantial

risk of severe pain. (D.E. 51, PageID# 2251–68.) But, in fact, these allegations merely present

potential failings that could happen in his execution (maladministration claims) yet provide no

factors, unique to the plaintiff, that would transform his claim into an as-applied challenge.

       Responding to these allegations, Defendants previously filed a motion for judgment on the

pleadings in which they argued that Plaintiff’s purported as-applied challenges about the risks of

maladministration are, in fact, non-viable facial challenges to the Protocol. (D.E. 87, 88.) While

this motion for judgment on the pleadings was pending, Defendants filed a motion for a protective

order that addressed, among other issues, the irrelevancy of the discovery Plaintiff seeks

concerning his allegations about the risks of maladministration. (D.E. 90–91, 97, 100.)

       After these motions were fully briefed, the Court ruled on Defendants’ motion for judgment

on the pleadings and stated as follows regarding Plaintiff’s allegations about the risks of

maladministration:

       [T]he allegations in question do not appear to the Court to assert an independent
       claim for relief based on the risks of maladministration. Instead, those allegations
       simply assert facts Plaintiff believes to be relevant to his burden to show that
       execution with midazolam is sure or very likely to cause needless pain and
       suffering. Whether the alleged facts support Plaintiff’s claim or are even relevant
       to it are matters to be determined at a later date. The Court sees no need at this
       time to proceed paragraph by paragraph through Plaintiff’s surviving claim to
       determine the legal viability of each allegation.

(D.E. 101, PageID# 5030–31) (emphasis added).

       In a separate, later order, the Court ruled on the motion for a protective order and held that

(1) discovery related to Plaintiff’s allegation that the execution team might improperly administer

the lethal injection chemicals is “[]not . . . irrelevant” to Plaintiff’s Eighth Amendment challenge

and (2) discovery related to Plaintiff’s allegation that there is a substantial risk Plaintiff will

experience pain if the lethal injection chemicals are improperly stored and transported is “relevant



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to Plaintiff’s Eighth Amendment claims.” (D.E. 107, PageID# 5115, 5117.) The Court’s order

requires Defendants to produce information about the skills, training, and experience of the current

execution team members as well as information about the purchase, compounding, transportation,

and storage of the lethal injection chemicals. Id.

       Defendants respectfully move the Court to reconsider this holding.

                                       LEGAL STANDARD

       “While the Federal Rules of Civil Procedure fail to explicitly address motions to reconsider

interlocutory orders, ‘[d]istrict courts have authority both under common law and Rule 54(b) to

reconsider interlocutory orders and to reopen any part of a case before entry of final judgment.’”

Parker v. Robertson, 34 F. Supp. 3d 859, 860–61 (M.D. Tenn. 2014) (quoting Rodriguez v. Tenn.

Laborers Health & Welfare Fund, 89 F. App’x 949, 959 (6th Cir. 2004)). “Courts traditionally

will find justification for reconsidering interlocutory orders when there is (1) an intervening

change of controlling law; (2) new evidence available; or (3) a need to correct clear error or prevent

manifest injustice.” Trimboli v. Old Republic Ins. Co., No. 3:18-CV-00346, 2020 WL 3546810,

at *4 (M.D. Tenn. June 30, 2020).

                                           ARGUMENT

       Defendants should not be required to produce information that relates to allegations the

Court has yet to deem relevant to Plaintiff’s challenge to the Protocol as written, and the Court has

authority to reconsider its order to the contrary.   Discovery is limited to that which is relevant to

a claim in the case, and it is a clear error of law to require a party to provide discovery that is

irrelevant to the claim in a case. Fed. R. Civ. P. 26(b)(1) (“Parties may obtain discovery regarding

any nonprivileged matter that is relevant to any party’s claim . . . .” (emphasis added)).       The




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discovery that has been ordered is not relevant to the only remaining claim in this case—a facial

challenge to the Protocol.

       A.       Plaintiff’s maladministration claim presents a facial challenge to the Protocol.

       In the context of method-of-execution challenges, the Supreme Court has recognized two

types of claims: facial challenges and as-applied challenges. Bucklew v. Precythe, 139 S. Ct. 1112,

1128 (2019). Generally, facial challenges oppose a method of execution protocol as written and

allege that even if perfectly followed, the protocol presents an unconstitutional risk of pain.

Glossip v. Gross, 135 S. Ct. 2726, 2735, 2740 (2015). Relevant to as-written facial challenges are

the words of the Protocol itself and the details of the training required by the Protocol to be

provided to the persons and entities responsible for carrying out the Protocol. See West v.

Schofield, 460 S.W.3d 113, 126 (Tenn. 2015) (“The Protocol must be assessed on its face against

the constitutional challenges levied by the Plaintiffs.”)

       As-applied challenges allege that a method of execution is unconstitutional as applied to a

specific inmate due to the particular circumstances of the inmate, such as the inmate’s “unique

medical condition.” Bucklew, 139 S. Ct. at 1126; Ohio Citizen Action v. City of Englewood, 671

F.3d 564, 570 (6th Cir. 2012) (“While a facial challenge invokes the rights of others, an as-applied

challenge is confined to the particular circumstance of the plaintiff.” (emphasis added)); see also

West, 460 S.W.3d at 130–31 (“[T]he Complaint contains no specific allegation as to how the

Protocol is unconstitutional as applied to any individual Plaintiff. Therefore, we question whether

the allegations of the Complaint actually are sufficient to constitute an as-applied challenge to the

Protocol.” (footnote omitted)).

       Allegations that an execution protocol will be maladministered, like those in Count Three

of Plaintiff’s complaint, are facial challenges—they concern the circumstances of all death row




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inmates. Typically, allegations about the risks of maladministration fail as a matter of law when

the execution protocol at issue contains sufficient safeguards to reduce a risk of maladministration

to a constitutionally acceptable level. 1 Baze v. Rees, 553 U.S. 35, 55–56 (2008) (“In light of these

safeguards, we cannot say that the risks identified by petitioners are so substantial or imminent as

to amount to an Eighth Amendment violation.”). Indeed, Baze “has all but foreclosed” allegations

of maladministration. Cooey v. Strickland, 589 F.3d 210, 225 (6th Cir. 2009).         It is only after a

Court determines the safeguards contained in an execution protocol are insufficient to guard

against alleged risks of maladministration that information related to allegations about the risks of

maladministration, such as the backgrounds of specific execution team members, might become

relevant to a case. Cooey, 589 F.3d at 223–27.

       B.      The ordered discovery is not relevant to Plaintiff’s facial challenge.

       In ruling on Defendants’ motion for judgment on the pleadings, the Court found that

Plaintiff’s challenge to the three-drug protocol as written states a claim upon which relief can be

granted. (D.E. 101, PageID# 5025–30.) The Court then determined that the allegations related to

maladministration, while not sufficient to state an independent basis for relief under the Eighth




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  The Supreme Court has indicated that in certain circumstances allegations about a risk of
maladministration might be constitutionally cognizable even when the execution protocol at issue
contains sufficient safeguards against the potential risk, but the allegations in such cases must be
quite severe. See Baze, 553 U.S. at 50 (“As Justice Frankfurter noted in a separate opinion based
on the Due Process Clause, however, ‘a hypothetical situation’ involving ‘a series of abortive
attempts at electrocution’ would present a different case. . . . In other words, an isolated mishap
alone does not give rise to an Eighth Amendment violation, precisely because such an event, while
regrettable, does not suggest cruelty, or that the procedure at issue gives rise to a ‘substantial risk
of serious harm.’” (citations omitted)). And according to the Sixth Circuit, in such circumstances,
inmates must allege a pattern of reckless or intentional misconduct on the part of the state—
allegations of negligence are insufficient. Cooey, 589 F.3d at 225 (“Speculations, or even proof,
of medical negligence in the past or in the future are not sufficient to render a facially
constitutionally sound protocol unconstitutional.”). Plaintiff’s allegations do not meet these
standards.

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Amendment, might be relevant to the facial challenge to the Protocol as written. (D.E. 101,

PageID# 5030–31.) The Court stated in its order, “[w]hether the alleged facts [about the risks of

maladministration] support Plaintiff’s claim or are even relevant to it are matters to be determined

at a later date.” (D.E. 101, PageID# 5031).

       Even though the Court has not determined that the discovery Plaintiff seeks is relevant to

his facial challenge to the Protocol as written, the Court has now ordered Defendants to provide

discovery about the allegations of the risks of maladministration. The discovery that has been

ordered is not relevant to Plaintiff’s claim that the Protocol is unconstitutional on its face.

       Information about the training and experience of individual members of the execution team

and details about storage and transportation of the lethal injection chemicals is not relevant to

Plaintiff’s challenge to the Protocol as written. West, 460 S.W.3d at 126. This discovery is only

relevant, if at all, to Plaintiff’s allegations about the risks of maladministration. See (D.E. 107,

PageID# 5115, 5117) (describing the requested discovery as relevant to Plaintiff’s allegations that

“TDOC’s execution team is not properly trained and has failed in the past to follow the lethal-

injection execution protocol as written”). But before requiring discovery related to allegations

about the risks of maladministration, the Court should determine whether the Protocol itself is

facially insufficient to guard against such allegations. See Cooey, 589 F.3d at 225.

       Indeed, in a remarkably similar case, the Eighth Circuit considered this exact issue and

concluded that discovery is inappropriate in these circumstances. In Clemons v. Crawford, 585

F.3d 1119, 1128 (8th Cir. 2009), cited with approval in Cooey, 589 F.3d at 221, 224, the

plaintiffs—death row inmates—brought an Eighth Amendment method-of-execution challenge in

which they alleged Missouri’s execution team was insufficiently trained and, consequently, there

was a substantial risk the execution team would deviate from the execution protocol as written.




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Id. at 1122. The defendants moved for judgment on the pleadings, and the district court initially

denied “but later reconsidered sua sponte and granted” the defendants’ motion. Id. On appeal,

the plaintiffs argued that the district court should have permitted them to discover “the

backgrounds or characteristics of individual members of Missouri’s execution team.” Id. at 1128.

But the Eighth Circuit affirmed the district court, holding that the case should be dismissed since

Missouri’s protocol contained sufficient safeguards against the risks of maladministration and,

consequently, plaintiffs were not entitled to discovery about the individual members of the

execution team. Id.

       Clemmons demonstrates that reconsideration is appropriate here, just as it was in that case.

By refraining from determining “[w]hether the alleged facts [about the risks of maladministration]

support Plaintiff’s claim or are even relevant,” (D.E. 101, PageID# 5030–31), and instead,

requiring Defendants to provide discovery related to Plaintiff’s risk of maladministration claims,

the discovery order deviates not only from Sixth Circuit precedent and persuasive precedent from

other circuits, see Cooey, 589 F.3d at 225; Clemons, 585 F.3d at 1128, but also from the

requirements of the Federal Rules of Civil Procedure.

       The order contravenes Fed. R. Civ. P. 12(b)(6) by requiring discovery related to allegations

that have not been determined to state a claim upon which relief can be granted. See Yuhasz v.

Brush Wellman, Inc., 341 F.3d 559, 566 (6th Cir. 2003) (“The very purpose of Fed. R. Civ. P.

12(b)(6) ‘is to enable defendants to challenge the legal sufficiency of complaints without

subjecting themselves to discovery.’” (quoting Rutman Wine Co. v. E. & J. Gallo Winery, 829 F.2d

729, 738 (9th Cir. 1987))); see also Kolley v. Adult Protective Servs., 725 F.3d 581, 587 (6th Cir.

2013) (“A plaintiff is not entitled to discovery before a motion to dismiss, and dismissal under

Rule 12(b)(6) helps protect defendants from expending resources on costly discovery for cases




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that will not survive summary judgment.”). And the order deviates from Fed. R. Civ. P. 26 by

requiring production of information that is irrelevant to the only challenge the Court has

determined to state a claim upon which relief can be granted—Plaintiff’s facial challenge to the

Protocol as written. (D.E. 101, PageID# 5030.)

       In sum, the portion of the discovery order requiring disclosure of this information should

be reconsidered and vacated, because requiring Defendants to produce this information is a clear

error of law.

                                       CONCLUSION

       For these reasons, Defendants’ motion to reconsider should be granted.

                                                           Respectfully submitted,

                                                           HERBERT H. SLATERY III
                                                           Attorney General and Reporter

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                          CERTIFICATE OF CONSULTATION


       Pursuant to Local Rule 7.01(a), I certify that on August 5, 2020, and August 7, 2020, I
consulted with opposing counsel, Mr. Stephen M. Kissinger, concerning this motion, and we were
unable to reach an agreement.

                                                          s/ Scott C. Sutherland______
                                                          SCOTT C. SUTHERLAND
                                                          Deputy Attorney General



                               CERTIFICATE OF SERVICE

        I certify that on the 7th day of August 2020, a copy of the foregoing memorandum of law
was filed and served by operation of the Court’s ECF/PACER system on the following counsel for
the Plaintiff: Stephen M. Kissinger, Asst. Federal Community Defender, 800 S. Gay Street, Suite
2400, Knoxville, TN 37929.
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